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13                                UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                     SAN FRANCISCO DIVISION
16
17   UNITED STATES OF AMERICA,           )              No. CR-05-00395-CRB
                                         )
18         Plaintiff,                    )
                                         )
19                                       )              [PROPOSED] ORDER TRANSFERRING
           v.                            )              BONDS FROM CENTRAL DISTRICT OF
20                                       )              CALIFORNIA AS TO DEFENDANTS NAM
                                         )              YOUNG LEE AND MYONG SU AHN
21   YOUNG JOON YANG, et al.,            )
                                         )
22                                       )
           Defendants.                   )
23   ____________________________________)
24
25          On September 7, 2005, defendants Nam Young Lee and Myong Su Ahn appeared before
26   this Court. The parties jointly moved for the transfer of the bonds as to the above defendants
27   from the Central District of California to the Northern District of California. The parties’ motion
28
     No. CR-05-00395-CRB
     [PROPOSED] ORDER TRANSFERRING BONDS
     FROM C.D. CAL. AS TO DEFENDANTS NAM
     YOUNG LEE AND MYONG SU AHN
           Case
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1    is granted. The Court hereby orders as follows:
2           1. Defendant Nam Young Lee’s bond (C.D. Cal. Case No. 05-1420M), attached hereto as
3    Exhibit A, is transferred to the Northern District of California.
4           2. Defendant Myong Su Ahn’s bond (C.D. Cal. Case No. 05-1423M), attached hereto as
5    Exhibit B, is transferred to the Northern District of California.
6
7           IT SO ORDERED.
8
9    DATED: September 14, 2005                      ____________________________________
                                                    HONORABLE JOSEPH C. SPERO
10                                                  UNITED STATES MAGISTRATE JUDGE
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28
     No. CR-05-00395-CRB
     [PROPOSED] ORDER TRANSFERRING BONDS
     FROM C.D. CAL. AS TO DEFENDANTS NAM
     YOUNG LEE AND MYONG SU AHN                        2
